  Case 4:23-cv-00830-O Document 79 Filed 12/01/23                    Page 1 of 3 PageID 3906


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



 NATIONAL ASSOCIATION FOR GUN
 RIGHTS, INC., et al.,

                     Plaintiffs,
                                                       Case No. 4:23-cv-00830-O
           v.

 MERRICK GARLAND, IN HIS OFFICIAL
 CAPACITY AS ATTORNEY GENERAL
 OF THE UNITED STATES, et al.,

                     Defendants.



            DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT
       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Civil Rule 56.3,

Defendants file this Cross-Motion for Summary Judgment on all counts. Pursuant to Local Civil Rule

56.3(b), the matters required by Local Civil Rule 56.3(a) are set forth in the accompanying brief.


DATED: December 1, 2023                         Respectfully submitted,




                                                   1
Case 4:23-cv-00830-O Document 79 Filed 12/01/23        Page 2 of 3 PageID 3907


                                  BRIAN M. BOYNTON
                                  Principal Deputy Assistant Attorney General

                                  BRIGHAM J. BOWEN
                                  Assistant Branch Director

                                  /s/ Alexander W. Resar
                                  MICHAEL P. CLENDENEN
                                  LAURA B. BAKST
                                  ALEXANDER W. RESAR
                                  Trial Attorneys
                                  Civil Division, Federal Programs Branch
                                  U.S. Department of Justice
                                  1100 L Street, NW
                                  Washington, DC 20005
                                  Phone: (202) 616-8188
                                  E-mail: alexander.w.resar@usdoj.gov

                                  Counsel for Defendants




                                    2
  Case 4:23-cv-00830-O Document 79 Filed 12/01/23                     Page 3 of 3 PageID 3908


                                    Certificate of Service
       On December 1, 2023, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                         /s/ Alexander W. Resar




                                                  3
